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 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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      EDMOND NEAL,                                       Case No.: 2:23-cv-10580 ODW (MAAx)
11
12                 Plaintiff,                            NOTICE OF VOLUNTARY
                                                         DISMISSAL OF ENTIRE ACTION
13          vs.                                          WITH PREJUDICE
14
      PHILLIPS BROS. HOLDINGS LLC; and
15    DOES 1 to 10,
16                 Defendants.
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            PLEASE TAKE NOTICE that Plaintiff EDMOND NEAL (“Plaintiff”) pursuant

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      to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire

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      action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which

22
      provides in relevant part:

23          (a) Voluntary Dismissal.

24                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                        and any applicable federal statute, the plaintiff may dismiss an action
26                        without a court order by filing:
27                        (i)      A notice of dismissal before the opposing party serves either an
28                                 answer or a motion for summary judgment.

                                                     1
                     NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
     Case 2:23-cv-10580-ODW-MAA Document 17 Filed 02/15/24 Page 2 of 2 Page ID #:53




 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: February 15, 2024              SO. CAL. EQUAL ACCESS GROUP
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 8                                          By:     /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
 9                                                Attorneys for Plaintiff
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                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
